 

	
	
	
	
	OSCN Found Document:AMENDMENT TO RULE 16 OF RULES OF STATE BD. OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				AMENDMENT TO RULE 16 OF RULES OF STATE BD. OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS2015 OK 44Decided: 06/15/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 44, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

&nbsp;


&nbsp;


IN RE: AMENDMENT TO RULE 16 OF THE RULES OF THE STATE BOARD OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS




ORDER



The Supreme Court of Oklahoma hereby adopts the amendment to Rule 16 of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, Title 20, Ch. 23, Appendix II, as submitted to this Court with the approval of the Board of Examiners of Certified Courtroom Interpreters. Effective immediately, Rule 16 is amended as set forth in the attached Exhibit.


DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 15th DAY OF JUNE, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



&nbsp;


&nbsp;

EXHIBIT

OKLAHOMA STATUTES, TITLE 20 - Courts
CHAPTER 23 - Courtroom Interpreters

Appendix II - Rules of the State Board of Examiners of Certified Courtroom Interpreters

Rule 16. Enrollment 

a) As provided in 20 O.S. §1702, the Board is authorized to determine and establish levels of interpreter certifications and specialization certificates, as the Board deems necessary and appropriate. Accordingly, the two levels of spoken-language interpreter certification recognized in the Oklahoma courts are "Registered" and "Certified." All candidates who successfully meet the certification requirements set forth in these Rules and have otherwise been found and approved by the Board to be fit and proper persons shall be recommended by the Board to the Supreme Court for official enrollment as Certified or Registered Courtroom Interpreters. Any individual enrolled as a Certified or Registered Interpreter is qualified to engage in courtroom interpreting and translating in the Oklahoma state courts, and is hereby recognized as "a certified courtroom interpreter or translator" for the purposes of 20 O.S. §1703(E). The Administrative Office of the Courts shall maintain the current roll (also referred to as the "registry") of all active Registered and Certified Courtroom Interpreters.

b) Provisional Status Interpreters do not become officially enrolled, and do not hold an official certification. The purpose of provisional status is to provide the courts with a temporary list of minimally qualified interpreters while the Oklahoma interpreter certification program is under development.

c) The court shall endeavor to obtain the services of a courtroom interpreter with the highest available level of credential prior to accepting services of an interpreter with lesser certification and skill.

d) As provided in 20 O.S. §1710, when good cause is shown and the court has determined that it would not be practical, within a reasonable time frame, to secure the services of a Registered or Certified Interpreter, the court may utilize the services of a Provisional Interpreter or other person who does not hold a Registered or Certified credential. Whenever possible, any court proceeding interpreted by a Provisional Interpreter, Registered Interpreter, or other person who is not enrolled as a Registered or Certified Interpreter shall be audio recorded and the recording shall be made an official part of the record as required by 20 O.S. §1710 and Supreme Court Rule 1.410.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 20. Courts
&nbsp;CiteNameLevel

&nbsp;20 O.S. Rule 16, EnrollmentCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 20. Courts
&nbsp;CiteNameLevel

&nbsp;20 O.S. 1702, Duties and Powers of State Board of Examiners of Certified Courtroom InterpretersCited
&nbsp;20 O.S. 1703, Qualifications of Applicants for Certification - Certification Required - Provisional CertificationCited
&nbsp;20 O.S. 1710, Use of Services of Non-Certified Person - Good CauseDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
